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                            EXHIBIT 2
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 13 Tyanna Walker, Samantha Sanchez,
 14 Terry Hunt, Joe Cardenas, Vladimir Tejada,
    Roberto Huerta, Michelle Rice,
 15 and the class
 16
                           UNITED STATES DISTRICT COURT
 17                     SOUTHERN DISTRICT OF CALIFORNIA
 18   Tyanna Walker, Samantha Sanchez,
      Terry Hunt, Joe Cardenas, Vladimir ) Case No. 3:19-cv-00347-LAB-JLB
 19   Tejada, Roberto Huerta, and )
 20   Michelle Rice on behalf of themselves )
      and of others similarly situated,     )
 21                                         )
 22                       Plaintiffs,       )
      v.                                    )
 23
                                            ) JOINT MOTION TO DISMISS
 24   The Control Group Media Company, )         WITHOUT PREJUDICE
      Inc., Instant Checkmate, LLC, and )
 25
      TruthFinders, LLC,                    )
 26                                         )
                          Defendants.       )
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                 JOINT MOTION TO DISMISS WITHOUT PREJUDICE
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  1         Plaintiffs Tyanna Walker, Samantha Sanchez, Terry Hunt, Joe Cardenas,
  2 Vladimir Tejada, Roberto Huerta, and Michelle Rice (collectively, “Plaintiffs”) and
  3 Defendants The Control Group Media Company, LLC, Instant Checkmate, LLC,
  4 and TruthFinder, LLC (collectively, “Defendants”) (Plaintiffs and Defendants
  5 collectively referred to as the “Parties”) file this joint motion to dismiss this case
  6 without prejudice so that it can be arbitrated.
  7         The Parties agree that the claims in this case should be arbitrated.
  8 Specifically, Plaintiffs are not challenging that they are bound by the mandatory
  9 arbitration and class action waiver provisions set forth in Defendants’ website terms
 10 of use and thus their claims must be brought in the claimants’ individual capacity
 11 and not in a representative or class capacity before an arbitrator with the American
 12 Arbitration Association.
 13         The Parties, therefore, request that the Court dismiss this case without
 14 prejudice. The Parties further agree that, with the granting of their joint motion,
 15 Defendants’ Motion to Dismiss (Doc. 7) will be moot, except to the extent it will be
 16 decided in arbitration.
 17         Accordingly, the Parties request that the Court (1) dismiss this case without
 18 prejudice, and (2) deny Defendants’ Motion to Dismiss (Doc. 7) as moot, without
 19 prejudice to Defendants.
 20         Dated this 17th day of September, 2019.
 21
 22         Respectfully Submitted,
 23 By: David George, Esq.
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                   JOINT MOTION TO DISMISS WITHOUT PREJUDICE
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 26 Checkmate, LLC; and TruthFinder, LLC
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                 JOINT MOTION TO DISMISS WITHOUT PREJUDICE
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  1                            CERTIFICATE OF SERVICE
  2
           I hereby certify that on September 17, 2019 I electronically filed the foregoing
  3
    with the Clerk of Court using the CM/ECF system which will send notification of
  4 such filing to the e-mail addresses denoted on the Electronic Mail Notice List.
  5        I declare under penalty of perjury that the foregoing is true and correct.
  6
                                                   By:   /s/ Stephanie R. Tatar
  7                                                      Stephanie R. Tatar
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                  JOINT MOTION TO DISMISS WITHOUT PREJUDICE
